                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MARYLAND


DOROTHY RENEE JACKSON, on Behalf of
Herself and Others Similarly Situated,

       Plaintiff,

       v.
                                                        Civil Action No. TDC-19-1009
JTM CAPITAL MANAGEMENT, LLC,
WEINBERG MEDIATION GROUP LLC and
ROYAL ASSET MANAGEMENT, INC.,

       Defendants.



                                          ORDER

       For the reasons stated during the May 15, 2019 Case Management Conference, it is

hereby ORDERED that:

       Plaintiff is granted leave to file the proposed Motion. The Motion will be deemed timely

if filed by May 22, 2019. Defendant’s Opposition to the Motion is due by June 5, 2019.

Plaintiff’s Reply to Defendant’s Opposition is due by June 19, 2019. By agreement of the

parties, the Motion and Opposition Memorandum shall be limited to 15 pages each, and the

Reply Memorandum shall be limited to 5 pages.



Date: May 15, 2019                                             /s/
                                                   THEODORE D. CHUANG
                                                   United States District Judge
